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                            UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF FLORIDA
                              WEST PALM BEACH DIVISION

                             CASE NO. 23-80101-CR-CANNON(s)


  UNITED STATES OF AMERICA,

  v.

  DONALD J. TRUMP,
  WALTINE NAUTA, and
  CARLOS DE OLIVEIRA,

        Defendants.
  ________________________________/

                                      NOTICE OF FILING

         The Government hereby gives notice that it filed three Ex Parte, In Camera, Under Seal

  Motions for an Order Pursuant to CIPA Section 4 and Fed. R. Crim. P. 16(d)(1)—one for each of

  the three defendants—under seal with the Court by delivering them to the Classified Information

  Security Officer (“CISO”) on December 6, 2023. Unclassified cover sheets for the three motions

  are attached hereto.

                                             Respectfully submitted,

                                             JACK SMITH
                                             Special Counsel

                                      By:    /s/ Julie A. Edelstein____________
                                             Jay I. Bratt, Counselor to the Special Counsel
                                             Julie A. Edelstein, Senior Assistant Special Counsel
                                             David V. Harbach, II, Assistant Special Counsel
                                             David Raskin, Assistant Special Counsel
                                             Brett C. Reynolds, Assistant Special Counsel
                                             950 Pennsylvania Avenue, N.W.
                                             Washington, D.C. 20530

  December 6, 2023
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                                 CERTIFICATE OF SERVICE

        I certify that on December 6, 2023, I electronically filed the foregoing document with the

  Clerk of Court using CM/ECF.


                                             /s/ Julie A. Edelstein______
                                             Julie A. Edelstein




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